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                6
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                        Tel: (206) 749-0500 / Fax: (206) 749-0500
              15
                        Attorneys for Defendant and Counterclaimant City of
              16        Oakland, a municipal corporation, acting by and
                        through its Board of Port Commissioners (Port of
              17        Oakland)
              18

              19                                  UNITED STATES DISTRICT COURT
              20                               NORTHERN DISTRICT OF CALIFORNIA
              21
                        CITY AND COUNTY OF SAN                          Case No. 3:24-cv-02311-TSH
              22
                        FRANCISCO,
                                                                        DECLARATION OF TIFFANY
              23
                                             Plaintiff,                 YAMASAKI
              24
                        v.                                              Date: November 7, 2024
                                                                        Time: 10:00 AM
              25
                        CITY OF OAKLAND AND PORT OF                     Courtroom: E – 15th Floor
                        OAKLAND,                                        Trial Date: (None Set)
              26
                                             Defendants.
              27


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  OAKLAND/SEATTLE
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                1
                        CITY OF OAKLAND, A MUNICIPAL
                2       CORPORATION, ACTING BY AND
                        THROUGH ITS BOARD OF PORT
                3       COMMISSIONERS (PORT OF
                        OAKLAND),
                4
                                      Counterclaimant,
                5
                        v.
                6
                        CITY AND COUNTY OF SAN
                7       FRANCISCO,
                8                     Counterclaim Defendant.
                9
                              I, Tiffany Yamasaki, declare as follows:
              10
                              1.      I am over eighteen years of age and am competent to testify. I make this
              11
                        declaration based on personal knowledge unless otherwise stated herein.
              12
                              2.      I am a Paralegal at Fennemore Craig, P.C., counsel for the City of Oakland, a
              13
                        Municipal Corporation, acting by and through its Board of Port Commissioners (Port of
              14
                        Oakland), Defendant and Counterclaimant in the above captioned matter.
              15
                              3.      Attached hereto as Exhibit 1 is a true and correct copy of an image of a
              16
                        historical map of the San Francisco Bay Metropolitan Area, dated 1912, that I obtained from
              17
                        the following web address: https://www.historicpictoric.com/products/historic-map-san-
              18
                        francisco-bay-metropolitan-area-1935-vintage.
              19
                              4.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the
              20
                        book titled, The San Francisco Bay Area, A Metropolis In Perspective, by Mel Scott, with a
              21
                        publication date of 1959, from pages 5, 138, 177, 185, 190, and 282 of that book.
              22
                              5.      Attached hereto as Exhibit 3 is a true and correct copy of a portion of a website
              23
                        for the State of California that I obtained from the following web address:
              24
                        https://scc.ca.gov/projects/san-francisco-bay/.
              25

              26

              27


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                1             6.      Attached hereto as Exhibit 4 is a true and correct copy of a portion of a website

                2       for the State of California that I obtained from the following web address:

                3       https://climateresilience.ca.gov/regions/sf-bay-area.html.

                4             7.      Attached hereto as Exhibit 5 is a true and correct copy of a screenshot of a

                5       webpage from the Metropolitan Transportation Commission website that I obtained from the

                6       following web address: http://www.bayareacensus.ca.gov/ -

                7       :~:text=Selected%20Census%20data%20from%20the%20San.

                8             8.      Attached hereto as Exhibit 6 is a true and correct copy of the federal trademark

                9       registration for Reg. No. 6,122,118 that I obtained from the United States Patent and

              10        Trademark Office (“USPTO”) online database.

              11              9.      Attached hereto as Exhibit 7 is a true and correct copy of the federal trademark

              12        registration for Reg. No. 6,122,119 that I obtained from the USPTO online database.

              13              10.     Attached hereto as Exhibit 8 is a true and correct copy of the federal trademark

              14        registration for Reg. No. 6,122,120 that I obtained from the USPTO online database.

              15              11.     Attached hereto as Exhibit 9 is a true and correct copy of a document my office

              16        received from the City and County of San Francisco (the “City”) in response to a California

              17        Public Records Act (“CPRA”), numbered CCSF (PRA)-001521 – CCSF (PRA)-1528.

              18              12.     Attached hereto as Exhibit 10 is a true and correct copy of a document that my

              19        office received from the City in response to a CPRA request, numbered CCSF (PRA)-1509 –

              20        CCSF (PRA)-1510.

              21              13.     Attached hereto as Exhibit 11 is a true and correct copy of a document that my

              22        office received from the City in response to a CPRA request, numbered CCSF (PRA)-001577

              23        – CCSF (PRA)-001583.

              24              14.     Attached hereto as Exhibit 12 is a true and correct copy of a document that my

              25        office received from the City in response to a CPRA request, numbered CCSF (PRA)-001519

              26        – CCSF (PRA)-001520.

              27


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                1             15.     Attached hereto as Exhibit 13 is a true and correct copy of a document that my

                2       office received from the City in response to a CPRA request, numbered CCSF (PRA)-001506

                3       – CCSF (PRA)-1508.

                4             16.     My understanding from a review of CPRA requests made by our office and

                5       responses received from the City is that there continue to be outstanding requests or

                6       incomplete responses to them.

                7             17.     Attached hereto as Exhibit 14 is a true and correct copy of screenshots I took as

                8       I navigated through part of the flight-booking process on the Alaska Airlines’ website, which

                9       can be accessed with the following link: https://www.alaskaair.com/.

              10              18.     Attached hereto as Exhibit 15 is a true and correct copy of screenshots I took as

              11        I navigated through part of the flight-booking process on the Delta Air Lines’ website, which

              12        can be accessed with the following link: https://www.delta.com/.

              13              19.     Attached hereto as Exhibit 16 is a true and correct copy of screenshots I took of

              14        the Booking.com website, which can be accessed with the following link:

              15        https://www.booking.com/.

              16              20.     Attached hereto as Exhibit 17 is a true and correct copy of screenshots I took of

              17        the following websites, which can be accessed at the links indicated therewith:

              18                      a. Expedia: https://www.expedia.com/Flights;

              19                      b. Tripadvisor: https://www.tripadvisor.com/CheapFlightsHome;

              20                      c. Google Flights: https://www.google.com/travel/flights/;

              21                      d. Agoda: https://www.agoda.com/flights?ds=gPZi%2F1wjr6Vziy75;

              22                      e. Skyscanner: https://www.skyscanner.com/flights;

              23                      f. Kayak: https://www.kayak.com/flights;

              24                      g. Skiplagged: https://skiplagged.com/ -

              25                          :~:text=Skiplagged%20is%20an%20airfare%20search%20engine;

              26                      h. Hopper: https://www.hopper.com/;

              27                      i. Hotwire: https://www.hotwire.com/flights/;


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                1                     j. Lastminute.com: https://www.lastminute.com/;

                2                     k. Enterprise: https://www.enterprise.com/en/home.html;

                3                     l. Budget: https://www.budget.com/en/home;

                4                     m. Uber: https://www.uber.com/.

                5             21.     Attached hereto as Exhibit 18 is a true and correct copy of an article titled

                6       “Average flight costs: Travel, airfare and flight statistics 2024”, dated April 18, 2024

                7       published by USA Today, that I obtained from the following web address:

                8       https://www.usatoday.com/money/blueprint/travel-insurance/flight-statistics/ -

                9       :~:text=The%20average%20airfare%20for%20a%20roundtrip.

              10              22.      Attached hereto as Exhibit 19 is a true and correct copy of Average Domestic

              11        Airline Itinerary Fares by Origin City for Q1 2024 Ranked by Total Number of Domestic

              12        Passengers in 2023, that I obtained from the website for the United States Department of

              13        Transportation, which shows that the average fare ($) for SFO is $444.09, and that the average

              14        fare ($) for OAK is $303.55, and can be accessed with the following link:

              15        https://www.transtats.bts.gov/AverageFare/.

              16              23.     Attached hereto as Exhibit 20 is a true and correct copy of screenshots I took of

              17        the Delta Air Lines website after I selected a flight from SFO to ACK, which shows a total

              18        ticket price of $5,213.76.

              19              24.     Attached hereto as Exhibit 21 is a true and correct copy of screenshots I took of

              20        the Delta Air Lines website after I selected a flight from SFO to PWM, which shows a total

              21        ticket price of $5,495.96.

              22              25.     Attached hereto as Exhibit 22 is a true and correct copy of an SFO Comparative

              23        Traffic Report for September 2023, that I obtained from the following web address:

              24        https://www.flysfo.com/sites/default/files/2023-11/Sep 2023 and CYTD SFO Air Traffic

              25        Summary.pdf.

              26              26.     Attached hereto as Exhibit 23 is a true and correct copy of an SFO Comparative

              27        Traffic Report for May 2024, that I obtained from the following web address:


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                1       https://www.flysfo.com/sites/default/files/2024-07/May 2024 and FYTD SFO Air Traffic

                2       Summary.pdf.

                3             27.     Attached hereto as Exhibit 24 is a true and correct copy of an SFO Comparative

                4       Traffic Report for June 2024, that I obtained from the following web address:

                5       https://www.flysfo.com/sites/default/files/2024-07/Jun 2024 and FYTD SFO Air Traffic

                6       Summary.pdf.

                7             28.     Attached hereto as Exhibit 25 is a true and correct copy of an SFO Comparative

                8       Traffic Report for July 2024, that I obtained from the following web address:

                9       https://www.flysfo.com/sites/default/files/2024-08/Jul 2024 and CYTD SFO Air Traffic

              10        Summary.pdf.

              11              29.     Attached hereto as Exhibit 26 is a true and correct copy of an SFO Comparative

              12        Traffic Report for August 2024, that I obtained from the following web address:

              13        https://www.flysfo.com/sites/default/files/2024-09/Aug 2024 and CYTD SFO Air Traffic

              14        Summary.pdf

              15              30.     Attached hereto as Exhibit 27 is a true and correct copy of an OAK Monthly

              16        Activity Report for September 2023, that I obtained from the following web address:

              17        https://www.iflyoak.com/wp-content/uploads/2024/01/CY2023-Summary-Page-Sep-2023.pdf.

              18              31.     Attached hereto as Exhibit 28 is a true and correct copy of an OAK Monthly

              19        Activity Report for May 2024, that I obtained from the following web address:

              20        https://www.iflyoak.com/wp-content/uploads/2024/07/CY2024-Summary-Page-May-

              21        2024.pdf.

              22              32.     Attached hereto as Exhibit 29 is a true and correct copy of an OAK Monthly

              23        Activity Report for June 2024, that I obtained from the following web address:

              24        https://www.iflyoak.com/wp-content/uploads/2024/08/CY2024-Summary-Page-June-

              25        2024.pdf.

              26              33.     Attached hereto as Exhibit 30 is a true and correct copy of a screenshot I took of

              27        the United States Census Bureau website (that I accessed at the following web address:


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                1       https://data.census.gov/), which states that it is showing Annual Estimates of the Resident

                2       Population from July 1, 2019 to April 1, 2020.

                3             34.     Attached hereto as Exhibit 31 is a true and correct copy of a screenshot that I

                4       took of SFO’s website, which is located at the following web address:

                5       https://www.flysfo.com/.

                6             35.     Attached hereto as Exhibit 32 is a true and correct copy of a screenshot that I

                7       took of OAK’s website, which is located at the following web address:

                8       https://www.iflyoak.com/.

                9             I declare under penalty of perjury under the laws of the United States of America that the

              10        foregoing is true and correct.

              11              Executed on this 8th day of October, 2024 at Seattle, Washington.

              12

              13
                                                                     By: s/ Tiffany Yamasaki
              14                                                         Tiffany Yamasaki, Paralegal
                                                                         Fennemore Craig, P.C.
              15
                                                                         1425 4th Ave., Suite 800
              16                                                         Seattle, WA 98101
                                                                         Email: tyamasaki@fennemorelaw.com
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